          Case 6:20-cv-00496-ADA Document 32 Filed 11/05/20 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

WSOU INVESTMENTS LLC d/b/a                     §
BRAZOS LICENSING AND                           §
DEVELOPMENT,                                   § C.A. NO. 6:20-cv-00496-ADA
               Plaintiff,                      §
                                               §
v.                                             §
                                               §
ZTE CORPORATION, ZTE (USA), INC.               §
and ZTE (TX), INC.,                            §
                    Defendants.

                         NOTICE OF APPEARANCE OF COUNSEL

        Defendants ZTE Corporation, ZTE (USA), Inc. and ZTE (TX), Inc., (collectively

“ZTE”), notify the Court and the parties of the appearance of Lionel M. Lavenue as counsel on

its behalf. Defendants respectfully request that Mr. Lavenue, who is enrolled in the Court’s

CM/ECF system and whose contact information is set forth below, be included on the Court’s

and parties’ service lists.

DATED: November 5, 2020                           Respectfully submitted,


                                                 /s/Lionel M. Lavenue
                                                 Lionel M. Lavenue
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                                                  Attorney for Defendants,
                                                  ZTE Corporation
                                                  ZTE (USA), Inc.
                                                  ZTE (TX), Inc.
         Case 6:20-cv-00496-ADA Document 32 Filed 11/05/20 Page 2 of 2



                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on November 5, 2020.

                                                  /s/Lionel M. Lavenue
                                                  Lionel M. Lavenue
